Case 2:04-Cv-02612-.]PI\/|-tmp Document 6 Filed 07/26/05 -Page 1 of 2 Page|D 12
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UNITED STATES OF AMERICA, JUDGMENT IN A CIVIL CASE
Plaintiff,
v .
LHVADIUS FAISON, Cv. NO¢ 04-2612 Ml/P
Cr. No: 99-20250-7-M1
Defendant.

 

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADUUDGED, AND DECREED that, in
accordance with the Order Denying Motion Pursuant to 28 U.S.C. §
2255, Order Denying Certificate of Appealability, and Order
Certifying Appeal Not Taken in Good Faith, entered July §EE,
2005, this case is DISMISSED.

APPROVED:

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-026]2 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Lavadius Faison
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12564-076

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Honorable J on McCalla
US DISTRICT COURT

